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17                       UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19   MACOM TECHNOLOGY                Case No. CV 16-02859 CAS (PLAx)
     SOLUTIONS HOLDINGS, INC. and
20   NITRONEX, LLC,                  DEFENDANT INFINEON
                                     TECHNOLOGIES AG’S NOTICE
21                 Plaintiffs,       OF MOTION AND MOTION TO
                                     DISMISS COMPLAINT UNDER
22        v.                         RULES 12(b)(1), 12(b)(2), AND
                                     12(b)(6)
23   INFINEON TECHNOLOGIES AG, et
     al.,                           [Declarations and Exhibits thereto filed
24                                  concurrently herewith; [Proposed]
                   Defendants.      Order Granting Motion to Dismiss
25                                  lodged concurrently herewith]
26                                          Hon. Christina A. Snyder
27                                          Date: October 17, 2016
                                            Time: 10:00 a.m.
28                                          Ctrm.: 5

                                DEFENDANT INFINEON TECHNOLOGIES AG’S NOTICE OF MOTION
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that on October 17, 2016, at 10:00 a.m., or as
 3   soon thereafter as this matter may be heard, in the courtroom of the Honorable
 4   Christina A. Snyder, located in the United States Courthouse, 312 N. Spring Street,
 5   Los Angeles, CA 90012, Defendant Infineon Technologies AG (“Infineon AG”)
 6   will and hereby does move this Court to dismiss the First Amended Complaint of
 7   Plaintiffs MACOM Technology Solutions Holdings, Inc. and Nitronex, LLC
 8   (collectively “MACOM”).
 9         This Motion is made pursuant to Federal Rules of Civil Procedure 12(b)(1),
10   12(b)(2), and 12(b)(6) and is based on the following grounds:
11         First, the Court should dismiss MACOM’s first amended complaint against
12   Infineon AG for lack of personal jurisdiction under Rule 12(b)(2).       MACOM
13   cannot establish general jurisdiction over Infineon AG (see infra Section I.A-B) or
14   specific jurisdiction with respect to each of MACOM’s different claims for relief
15   (see infra Sections II.A, III.A, and IV.A).       MACOM bears the burden of
16   establishing personal jurisdiction under Rule 12(b)(2) by a preponderance of the
17   evidence and cannot carry this burden on “information and belief” where, as here,
18   the jurisdictional facts are both conclusory and disputed, and Infineon AG and
19   Infineon Americas have provided declarations refuting MACOM’s allegations.
20         Second, in addition to lack of personal jurisdiction, the Court should also
21   dismiss MACOM’s first, second, third, fourth, sixth, and seventh claims for relief
22   (the “contract claims”) for lack of subject-matter jurisdiction under Rule 12(b)(1)
23   and for failure to state a claim upon which relief can be granted under Rule
24   12(b)(6). See infra Section II.B
25
26                                          See infra Section II.A-B. As a result, with
27   respect MACOM’s six contract claims, MACOM cannot show an actual
28   controversy exists between MACOM and Infineon AG so as to establish subject-
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 1   matter jurisdiction. In addition, MACOM fails to state a claim upon which relief
 2   can be granted.
 3         Third, in addition to lack of personal jurisdiction, the Court should dismiss
 4   MACOM’s fifth claim for relief (declaratory judgment of non-infringement) for
 5   lack of subject-matter jurisdiction under Rule 12(b)(1) and for failure to state a
 6   claim upon which relief can be granted under Rule 12(b)(6).              See infra
 7   Section III.B.
 8                                                 As a result, MACOM cannot show an
 9   actual controversy exists between MACOM and Infineon AG as to
10                    so as to establish subject-matter jurisdiction. In addition, MACOM
11   fails to state a claim upon which relief can be granted.
12         Fourth, in addition to lack of personal jurisdiction, the Court should dismiss
13   MACOM’s eighth claim for relief (intentional interference with contractual
14   relations) for failure to state a claim upon which relief can be granted under
15   Rule 12(b)(6). See infra Section IV.B. Based on the allegations in MACOM’s first
16   amended complaint, the financial interest privilege and manager’s privilege bar
17   MACOM’s claim against Infineon AG for intentional interference with contractual
18   relations. Thus, MACOM fails to state a claim upon which relief can be granted.
19         This Motion is based on this Notice of Motion; the accompanying
20   Memorandum of Points and Authorities; the Declarations of James C. Williams,
21   Ulrich Pelzer, and Robert LeFort and Exhibits thereto filed concurrently herewith;
22   all of the pleadings and other documents on file in this case; all other matters of
23   which the Court may take judicial notice; and any further argument or evidence that
24   may be received by the Court at the hearing.
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 1         The parties discussed, by email and telephone, the grounds of Infineon AG
 2   and Infineon America’s motions to dismiss on Wednesday, August 10. The parties
 3   could not reach a resolution and this Motion is opposed.
 4
 5   DATED: August 17, 2016              JEFFERY D. BAXTER
                                         BAKER BOTTS LLP
 6
 7
 8
 9
                                         By        /s/ Jeffery D. Baxter
10                                            Jeffery D. Baxter
11                                            Attorney for Defendant
                                              Infineon Technologies AG
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                     INTRODUCTION
 3            Plaintiffs MACOM Technology Solutions Holdings, Inc. and Nitronex, LLC
 4    (collectively “MACOM”) filed a Complaint for Breach of Contract and Declaratory
 5    Judgment on April 26, 2016. Dkt. No. 1. On July 5, 2016, Defendant Infineon
 6    Technologies AG (“Infineon AG”) moved to dismiss MACOM’s complaint. Dkt.
 7    46-2.    Infineon AG pointed out that MACOM could not establish personal
 8    jurisdiction over Infineon AG because MACOM had improperly relied on the
 9    California contacts of Infineon AG’s indirect subsidiary, Infineon Technologies
10    Americas Corp. (“Infineon Americas”). In addition, Infineon AG showed that
11    MACOM failed to distinguish between the two named defendants in its various
12    claims for relief. As a result, MACOM had improperly sued
13                                                                              Similarly,
14    MACOM had also improperly sued Infineon AG for a declaration that MACOM
15    does not infringe patents that Infineon AG does not own. The proper defendant for
16    those claims is Infineon Americas because
17
18            To try to fix these and other problems identified in Infineon AG’s motion to
19    dismiss, MACOM filed its First Amended Complaint for Breach of Contract and
20    Declaratory Judgment (“FAC”) on July 19, 2016. Dkt. No. 65. Despite these
21    amendments, MACOM’s claims continue to suffer from fatal defects and should be
22    dismissed.
23            MACOM still cannot establish personal jurisdiction over Infineon AG.
24    MACOM tries to impute the contacts of Infineon Americas to Infineon AG based a
25    new alter ego theory. But MACOM cannot satisfy the alter ego test.
26            MACOM’s first seven claims for relief still fail to distinguish between the
27    two named defendants. Dkt. 65 at ¶¶ 165-232. Those claims for relief are against
28    “Infineon” or “Defendants,” which are terms that MACOM defined to refer
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  1   collectively to both Infineon AG and its indirect subsidiary Infineon Technologies
  2   Americas Corp. (“Infineon Americas”). Dkt. 65 at p. 1 (defining “Infineon” and
  3   “Defendants”). As a result, MACOM continues to sue Infineon AG for breach of
  4   contract based on                                                       , and for a
  5   declaration that MACOM does not infringe patents
  6   The proper defendant for MACOM’s first seven claims is Infineon Americas
  7   because
  8              Moreover, MACOM’s conclusory allegations attempting to invoke
  9   theories of alter ego, agency, and ratification to impute Infineon Americas’ actions
10    to Infineon AG are legally insufficient. Thus, with respect to those seven claims for
11    relief, MACOM cannot establish an actual case or controversy between MACOM
12    and Infineon AG, and MACOM’s complaint fails to state a claim against Infineon
13    AG upon which relief can be granted.
14          MACOM’s eighth and final claim against Infineon AG is for intentional
15    interference with contractual relations. Dkt. 65 at ¶¶ 233-245. However, with that
16    claim, MACOM is improperly trying to transform its breach of contract claims
17    (which should have been brought against only Infineon Americas) into a tort claim
18    against Infineon AG.     A number of doctrines, including the financial interest
19    privilege and the manager’s privilege, apply to Infineon AG’s alleged conduct and
20    thus bar MACOM’s claims for intentional interference with contract relations.
21    Therefore, with respect to this final claim for relief, MACOM again fails to state a
22    claim upon which relief can be granted.
23                                STATEMENT OF FACTS
24          A.    The Defendant Parties
25          Infineon AG is German corporation with its principal place of business in
26    Germany. Pelzer Decl. at ¶ 2.
27
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  1         International Rectifier Corporation (“International Rectifier”) was a
  2   Delaware corporation with its headquarters and principal place of business in
  3   California, but it now operates under a different name, Infineon Americas. LeFort
  4   Decl. at ¶ 3; Pelzer Decl. at ¶ 5. On January 13, 2015, Infineon Technologies AG
  5   acquired International Rectifier, which became an indirect, wholly-owned
  6   subsidiary of Infineon AG. LeFort Decl. at ¶ 3; Pelzer Decl. at 4. On October 1,
  7   2015, the name of International Rectifier was changed to Infineon Americas in
  8   connection with a merger involving an affiliate, Infineon Technologies North
  9   America Corp. LeFort Decl. at ¶ 4; Pelzer Decl. at ¶ 5.
10          B.    MACOM’s First Amended Complaint (FAC)
11          MACOM’s FAC includes eight claims for relief. Dkt. 65 at ¶¶ 165-245. For
12    this motion, Infineon AG has divided those eight claims into three groups:
13          (1) The six contract claims. MACOM’s first, second, third, fourth, sixth,
14    and seventh claims for relief relate to
15                                                                                        .
16    Dkt. 65 at Ex. 1 at 1 and Ex. 2 at 1.
17
18
19                                              MACOM’s contract claims include three
20    claims for breach of                   (claim nos. 1, 2, and 6), one claim for breach
21    of the covenant of good faith and fair dealing (claim no. 4), and two claims for
22    declaratory judgment of rights under                      (claim nos. 3 and 7). Dkt.
23    65 at ¶¶ 165-207 and 218-232.
24          MACOM brought these contract claims against Infineon AG despite the fact
25    that Infineon AG                                          . Dkt. 65 at p. 1 (defining
26    “Infineon” and “Defendants” to include Infineon AG); ¶¶ 172, 184, 192, 202, 213-
27    217, 222, and 231; Pelzer Decl. at ¶¶ 7-9.        Instead, Infineon AG’s indirect
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  1   subsidiary Infineon Americas                                     (LeFort Decl. at ¶ 6),
  2   and it is the only party against whom MACOM can bring its six contract claims.
  3         To try to support its contract claims against Infineon AG based
  4                                                                , MACOM amended its
  5   complaint to plead, in conclusory fashion, three legal theories under which
  6   California courts have recognized that a parent corporation may be held liable for
  7   the acts of its subsidiary: alter ego, agency and ratification. Dkt. 65 at p. 54 fn. 3;
  8   ¶¶ 7, 36. However, MACOM has not pled sufficient facts in support of these
  9   theories, and it cannot present evidence to establish jurisdiction.
10          (2) Declaratory judgment of non-infringement. MACOM’s fifth claim
11    for relief is for declaratory judgment of non-infringement of patents
12                          Dkt. 65 at ¶¶ 208-217; Pelzer Decl. at ¶ 9.
13
14                                                                                   Dkt. 65
15    at ¶¶ 1, 79-98. Infineon AG’s indirect subsidiary Infineon Americas
16            (LeFort Decl. at ¶ 6), and thus, it is the only party against whom MACOM
17    can bring its claim for declaratory judgment of non-infringement.
18          (3) Intentional interference with contractual relations. The eighth and
19    final claim for relief is for intentional interference with contractual relations. Dkt.
20    65 at ¶¶ 233-245. MACOM is improperly trying to transform its breach of contract
21    claims (which should have been brought against only Infineon Americas) into a tort
22    claim against Infineon AG. MACOM alleges,
23
24                                                                           Id. at ¶¶ 19, 26,
25    33, and 237-240.
26
27                  Id. at ¶¶ 6, 8, 155-163, 175, 186, 194, 206, 214, and 244. MACOM’s
28    baseless allegations are not sufficient to support personal jurisdiction and are
                                              4
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  1                                                                            Furthermore,
  2   even if accepted as true, those allegations fail to state a claim upon which relief can
  3   be granted because the financial interest privilege and the manager’s privilege apply
  4   to Infineon AG’s alleged conduct and bar MACOM’s claims for intentional
  5   interference with contract relations.
  6                                  LEGAL STANDARDS
  7         A.     Lack of personal jurisdiction under Rule 12(b)(2)
  8         Rule 12(b)(2) of the Federal Rules of Civil Procedure permits a party to
  9   move a court to dismiss a complaint for lack of personal jurisdiction. Before a
10    forum can exercise personal jurisdiction over a non-resident defendant, the Due
11    Process Clause requires that the defendant must have purposefully availed itself of
12    the benefits and protections of the forum’s laws by establishing minimum contacts
13    with the state. See J. McIntyre Mach., Ltd. v. Nicastro, 131 S. Ct. 2780, 2787-88
14    (2011). There are two theories under which a defendant’s contacts with the forum
15    are analyzed — general and specific jurisdiction. See Walden v. Fiore, 134 S. Ct.
16    1115, 1121 fn. 6 (2014).
17          A court has general jurisdiction when the defendant’s contacts with the
18    forum are so continuous and systematic as to render it essentially “at home” in the
19    forum state. Daimler AG v. Bauman, 134 S. Ct. 746, 760-61 (2014). A corporate
20    defendant will be considered “at home” where it is incorporated and where it has its
21    principal place of business.      Id. at 760.    A defendant is subject to general
22    jurisdiction outside its place of incorporation or principal place of business only in
23    exceptional circumstances in which a corporate defendant’s contacts are so
24    substantial as to render it “at home.” See id. at 761 fn. 19.
25          A court has specific jurisdiction when a plaintiff’s cause of action arises from
26    or is directly related to the defendant’s contacts with the forum. J. McIntyre, 131 S.
27    Ct. at 2788. In the Ninth Circuit, specific jurisdiction is analyzed under a three
28
                                                 5
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  1   prong test: (1) the non-resident defendant must purposefully direct his activities or
  2   consummate some transaction with the forum state or a resident of the forum state,
  3   or perform some act by which he purposefully avails himself of the privilege of
  4   conducting activities in the forum, thereby invoking the benefits and protections of
  5   its laws, (2) the claim alleged is one that arises out of or relates to the defendant’s
  6   forum-related contacts, and (3) the exercise of jurisdiction must comport with fair
  7   play and substantial justice, i.e., it must be reasonable. Yahoo! Inc. v. La Ligue
  8   Contre Le Racisme et L’antisemitisme, 433 F.3d 1199, 1205-206 (9th Cir. 2006) (en
  9   banc) (citing Schwarzenegger, 374 F.3d 797, 802 (9th Cir. 2004)). A plaintiff
10    bringing multiple claims arising from different contacts of the defendant must
11    establish specific jurisdiction for each claim. See Ramondetta v. Philips Electronics
12    Ltd., No. C-07-3329, 2007 WL 4209443, at *2 fn. 3 (N.D. Cal. Nov. 27, 2007) (“If
13    a court lacks general jurisdiction over a defendant, then there must be specific
14    jurisdiction for each claim asserted against the defendant) (citing Wright & Miller,
15    Fed. Prac. & Proc. Civ.3d § 1351).
16          MACOM bears the burden of establishing personal jurisdiction by a
17    preponderance of the evidence. Flynt Distributing Co., Inc. v. Harvey, 734 F.2d
18    1389, 1392 (9th Cir. 1984).      With respect to the three-prong test for specific
19    jurisdiction, MACOM bears the burden of establishing each of the first two prongs.
20    Schwarzenegger, 374 F.3d at 802. Only if MACOM succeeds in establishing both
21    prongs does the burden shift to Infineon AG to establish that the exercise of
22    jurisdiction would be unreasonable. Id.
23          B.     Lack of subject-matter jurisdiction under Rule 12(b)(1)
24          Under Rule 12(b)(1) of the Federal Rules of Civil Procedure, a district court
25    must dismiss a complaint if it fails to establish subject-matter jurisdiction. Fed. R.
26    Civ. P. 12(b)(1). Article III of the U.S. Constitution limits the subject-matter
27
28
                                                6
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  1   jurisdiction of Federal Courts to resolving actual cases or controversies. Lexmark
  2   Intern., Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1386 (2014).
  3          C.    Failure to state a claim upon which relief can be granted under
                   Rule 12(b)(6)
  4
             Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a district court
  5
      must dismiss a complaint if it fails to state a claim upon which relief can be granted.
  6
      Fed. R. Civ. P. 12(b)(6). The plaintiff’s complaint must allege “enough facts to
  7
      state a claim to relief” that “allow[s] the court to draw the reasonable inference that
  8
      the defendant is liable for the misconduct alleged.” whiteCryption Corp. v. Arxan
  9
      Techs., Inc., No. 15-CV-00754-WHO, 2015 WL 3799585, at *1-2 (N.D. Cal. June
10
      18, 2015) (citing Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 556 (2007);
11
      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The complaint must contain “more
12
      than a sheer possibility that a defendant has acted unlawfully” and must allege facts
13
      sufficient to “raise a right to relief above the speculative level.” Iqbal, 556 U.S. at
14
      678; Twombly, 550 U.S. at 545. “Threadbare recitals of elements of a cause of
15
      action, supported by mere conclusory statement, do not suffice.” Iqbal, 556 U.S. at
16
      678.   The court is not required to accept as true “allegations that are merely
17
      conclusory, unwarranted deductions of fact, or unreasonable inferences.” In re
18
      Gilead Sciences Securities Litigation, 536 F.3d 1049, 1055 (9th Cir. 2008).
19
20                                       ARGUMENT

21    I.     MACOM cannot establish general jurisdiction over Infineon AG.

22           A.    Infineon AG’s California contacts are insufficient to establish
                   general jurisdiction.
23           Because Infineon AG’s place of incorporation and principal place of business
24    are outside of California (Pelzer Decl. at ¶ 2), MACOM must establish that this is
25    “an exceptional case” where Infineon AG’s California contacts are “so substantial
26    and of such a nature as to render the corporation at home” in the forum. Daimler
27    AG, 134 S. Ct. at 761 fn. 19. However,
28
                                                7
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  1
  2              .   Pelzer Decl. at ¶ 3.    Thus, Infineon AG’s California contacts are
  3   insufficient to establish general jurisdiction.
  4         B.       MACOM cannot impute Infineon Americas’ contacts to Infineon
                     AG to establish personal jurisdiction.
  5
            “The existence of a relationship between a parent company and its
  6
      subsidiaries is not sufficient to establish personal jurisdiction over the parent on the
  7
      basis of the subsidiaries’ minimum contacts with the forum.” See Doe v. Unocal
  8
      Corp., 248 F.3d 915, 925 (9th Cir. 2001). For that reason, MACOM appears to rely
  9
      on an alter ego theory to try to impute Infineon Americas’ California contacts to
10
      Infineon AG to establish personal jurisdiction.1 Dkt. 65 at ¶¶ 19-34. To satisfy the
11
      alter ego test, MACOM “must make out a prima facie case ‘(1) that there is such
12
      unity of interest and ownership that the separate personalities [of Infineon AG and
13
      Infineon Americas] no longer exist and (2) that failure to disregard [their separate
14
      identities] would result in fraud or injustice.’” Unocal Corp., 248 F.3d at 926
15
      (quoting AT&T Co. v. Compagnie Bruxelles Lamber, 94 F.3d 586, 591 (9th Cir.
16
      1996)).
17
            MACOM cannot meet the unity of interest and ownership prong of the test.
18
      That prong requires that MACOM show that Infineon AG “dictates every facet of
19
      the subsidiary’s business—from broad policy decisions to routine matters of day-to-
20
      day operation.” Id. Even assuming that Infineon AG is heavily involved in the
21
      macro-management of its subsidiaries, that does not show that Infineon AG
22
      directed Infineon Americas’ day-to-day operations. Id. at 927-30; Ranza v. Nike,
23
      Inc., 793 F.3d 1059, 1074-75 (9th Cir. 2015). The alleged facts on which MACOM
24
      relies do not establish more than the “direction and oversight” that is “normal and
25
26
            1
              Although MACOM’s complaint also refers to an agency theory, agency
27    theory cannot be used to establish personal jurisdiction over Infineon AG. Daimler,
      134 S. Ct. at 759-60; Ranza v. Nike, Inc., 793 F.3d 1059, 1071 (9th Cir. 2015).
28
                                                  8
                                    DEFENDANT INFINEON TECHNOLOGIES AG’S NOTICE OF MOTION
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  1   expected” for a foreign parent to exercise over a local subsidiary.       See In re
  2   Automobile Antitrust Cases I & II, 135 Cal. App. 4th 100, 120, fn. 10 (Cal. Ct. App.
  3   2005) (holding “common characteristics such as interlocking directors and officers,
  4   consolidated reporting and shared professional services” are “normal and expected”
  5   “direction and oversight” for a foreign parent to exercise over a local subsidiary);
  6   Tomaselli v. Transamerica Ins. Co., 25 Cal. App. 4th 1269, 1285 (Cal. Ct. App.
  7   1994) (describing as falling “woefully short” for the purposes of imposing alter-ego
  8   liability allegations that “the parent company owned 100 percent of the subsidiary’s
  9   stock, it shared office space and policy manuals with the subsidiary, they had some
10    common personnel, and they had consolidated financial statements”). Although
11    MACOM cites descriptions of integrating International Rectifier’s business in
12    Infineon AG’s 2015 Annual Report, those general statements are not sufficient to
13    show the type of oversight of day-to-day operations necessary to meet the unity of
14    interest and ownership prong. Hickory Travel Systems, Inc., 213 F.R.D. 547, 554
15    (N.D. Cal. 2003) (no alter ego where parent referred to wholly owned subsidiaries
16    as “divisions,” reported their earning in annual statements, boasted of corporate
17    integration, and made decisions about restructuring subsidiaries’ businesses).
18          Moreover, MACOM also cannot meet the unity of interest and ownership
19    prong of the test because it cannot show that Infineon AG and Infineon Americas
20    failed to observe their respective corporate formalities.     In Unocal, the Ninth
21    Circuit held that a plaintiff did not meet the unity of interest and ownership prong
22    where the evidence showed “an active parent corporation involved directly in
23    decision-making about its subsidiaries’ holding,” but each entity “observed all of
24    the corporate formalities necessary to maintain corporate separateness.” Unocal,
25    248 F.3d at 928. MACOM misleadingly contends that there was a failure to respect
26    corporate formalities because
27                                                     Dkt. 65 at ¶¶ 28, 123. Contrary to
28    MACOM’s argument, both Infineon AG and the entity now named Infineon
                                       9
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  1   Americas
  2                    Dkt. 65, Ex. 3. At that time, the entity now known as Infineon
  3   Americas was named International Rectifier.2        For that reason,
  4
  5                        Id. Therefore, contrary to MACOM’s misleading assertion,
  6                                 is an example of Infineon AG and Infineon Americas
  7   observing their respective corporate formalities.
  8          Furthermore, MACOM cannot meet the second prong of the alter ego test
  9   which requires showing that treating the Defendants as separate entities would
10    result in a fraud or injustice.    MACOM could have sued Infineon AG in a
11    constitutionally proper jurisdiction, and its failure to do so does not constitute an
12    injustice.   Moreover, MACOM does not allege that Infineon Americas is
13    undercapitalized so as to prevent MACOM from obtaining relief.                 Because
14    MACOM cannot satisfy either prong of the alter ego test, MACOM cannot attribute
15    Infineon Americas’ contacts to Infineon AG for the purpose of personal
16    jurisdiction.3
17           Because general jurisdiction is lacking, MACOM must establish specific
18    jurisdiction for each of its eight claims for relief. Ramondetta, 2007 WL 4209443,
19    at *2 fn. 3. It cannot do so. Infineon AG has organized MACOM’s eight claims
20    into the three groups described above in the Statement of Facts and analyzed each
21    group separately below to explain why specific jurisdiction is also lacking.
22
             2
               It was not until two months later, in October 2015, that International
23
      Rectifier Corporation was renamed Infineon Americas. LeFort Decl. at ¶ 4; Pelzer
24    Decl. at ¶ 5.
             3
25             Furthermore, even if Infineon Americas’ California contacts were attributed
      to Infineon AG, those California contacts are not so pervasive as to render Infineon
26    AG “essentially at home” in California. Daimler, 134 S.Ct. 762 fn. 20 (explaining
27    that the general jurisdiction inquiry examines a corporation’s activities
      worldwide—not just the extent of the contacts in the forum states—to determine
28    where it can be rightly considered at home).
                                               10
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  1   II.   MACOM’s six contract claims should be dismissed.
  2         MACOM’s six contract claims
  3
  4                 Dkt. 65 at Ex. 1 at 1 and Ex. 2 at 1.
  5
  6                      Pelzer Decl. at ¶¶ 7-9; LeFort Decl. at ¶ 6. MACOM’s contract
  7   claims should be dismissed for three independent reasons. First, MACOM cannot
  8   establish specific jurisdiction over Infineon AG. Second, MACOM cannot show an
  9   actual case or controversy so as to establish subject-matter jurisdiction. Third,
10    MACOM’s complaint fails to state a claim upon which relief can be granted. In
11    addition, MACOM’s second claim for relief should also be dismissed for the
12    reasons discussed in Infineon America’s motion to dismiss (filed on the same day
13    as this motion and incorporated by reference).
14          A.     MACOM cannot establish specific jurisdiction for its six contract
                   claims.
15
            Because Infineon AG                                                  (Pelzer
16
      Decl. at ¶¶ 7-9; LeFort Decl. at ¶ 6), MACOM cannot point to any contacts by
17
      Infineon AG out of which MACOM’s contract claims arise. Ohio Edison Co. v.
18
      Frontier North Inc., No. 5:14-cv-321, 2014 WL 6389564 at *2, 8 (N.D. Ohio Nov.
19
      14, 2014) (finding lack of personal jurisdiction over a defendant in an action for
20
      breach of contract where the defendant was not a party to the contract).
21
            Also, because Infineon AG
22
23
                                        In its original complaint, MACOM admitted that
24
25
                                                                                 Dkt. 1
26
      at ¶ 18. As Infineon AG stated in its prior motion to dismiss,
27
28
                                               11
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  1
  2   Pelzer Decl. at ¶¶ 7-9.
  3         Accordingly, MACOM has failed to establish that Infineon AG maintains
  4   sufficient minimum contacts such that exercise of jurisdiction in this case would not
  5   “offend traditional notions of fair play and substantial justice.” See Int’l Shoe Co.
  6   v. State of Wash., Office of Unemployment Compensation and Placement, 326 U.S.
  7   310, 316 (1945).
  8         B.     MACOM cannot show an actual case or controversy and fails to
                   state a claim upon which relief can be granted.
  9
            Because Infineon AG                                                  MACOM
10
      cannot show an actual case or controversy, and its complaint fails to state a claim
11
      upon which relief can be granted.
12
            It is a basic proposition of contract law that “only a signatory to a contract
13
      may be liable for any breach.” Clemens v. Am. Warranty Corp., 193 Cal. App. 3d
14
      444, 452 (Cal. Ct. App. 1987). “Breach of contract cannot be made the basis of an
15
      action for damages against defendants who did not execute it” unless the
16
      nonsignatory has expressly assumed the contract. Gold v. Gibbons, 178
17
      Cal. App. 2d 517, 519 (Cal. Ct. App. 1960); Kabushiki Kaisha Stone Corp. v.
18
      Affliction, Inc., Case No. 09-2742, 2010 WL 890018, at *1 (N.D. Cal. 2010); Aaron
19
      v. Aguirre, Case No. 506-cv-1451-H(POR). Merely because a related party assisted
20
      in performance, management, or accepted the benefits of the contract, that does not
21
      bind the party to its terms. See, e.g., Matthau v. Super. Ct., 151 Cal. App. 4th 593,
22
      603 (Cal. Ct. App. 2007) (refusing to bind a nonsignatory to a contract merely
23
      because it benefited or assisted performance, finding the proposition “unsupported
24
      by law”).
25
            As a result, there is no actual controversy between MACOM and Infineon
26
      AG—and thus no subject-matter jurisdiction—with respect MACOM’s six contract
27
      claims. See Caldera Pharmaceuticals, Inc. v. Los Alamos Nat. Sec., L.L.C., 777
28
                                               12
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  1   F. Supp. 2d 1125, 1126 (N.D. Ill. 2011) (finding lack of subject-matter jurisdiction
  2   for breach of contract claim where defendant was not party to the contract at issue).
  3   In addition, MACOM fails to state a claim upon which relief can be granted.
  4         C.     MACOM cannot save its six contract claims with its new,
                   unsupported alter ego, agency, and ratification theories.
  5
            To try save its contract claims against Infineon AG, MACOM amended its
  6
      complaint to plead theories under which it alleges
  7
                                                           Federal courts in California have
  8
      recognized three “unusual situations” where a parent corporation may be held liable
  9
      for the acts of its subsidiary: “(i) Where the circumstances of the organization of
10
      the two entities are such that the corporate form should be disregarded (‘alter ego’
11
      liability); (ii) where the subsidiary acts as an agent of the parent corporation; or (iii)
12
      where the parent corporation . . . ratifies the acts of the subsidiary corporation.”
13
      whiteCryption Corp. v. Arxan Techs., Inc., Case No. 15-cv-00754, 2015 WL
14
      3799585, at *2 (N.D. Cal. Jun. 18, 2015) (citing E. & J. Gallo Winery v. EnCana
15
      Energy Servs., Inc., Case No. 03-5412, 2008 WL 2220396, at *5 (E.D. Cal. May
16
      27, 2008)). Lacking any theory supported by the relevant facts, MACOM amended
17
      its complaint to plead, in conclusory fashion, all three of these “unusual” theories.
18
      Dkt. 65 at p. 54 fn. 3; ¶¶ 7, 36. MACOM fails to present sufficient evidence in
19
      support or these three new theories so as to establish personal jurisdiction or
20
      subject-matter jurisdiction. Moreover, setting aside the jurisdictional defects, the
21
      conclusory allegations supporting these theories are insufficient to state a plausible
22
      claim for relief.
23
            First, MACOM cannot avail itself of any of the three pleaded theories to
24
      establish subject-matter jurisdiction or specific personal jurisdiction over Infineon
25
      AG. As explained above, MACOM fails to present sufficient evidence in support
26
      of its alter ego theory. See supra Section I.B.
27
28
                                                 13
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  1           As for its agency theory, MACOM cannot rely on agency to establish
  2   personal jurisdiction over Infineon AG. See Daimler, 134 S. Ct. at 759-60; Ranza
  3   v. Nike, Inc., 793 F.3d at 1071. MACOM’s agency theory also does not overcome
  4   the lack of subject-matter jurisdiction because MACOM fails to present sufficient
  5   evidence in support. Similar to alter ego, agency requires MACOM to show that
  6   Infineon AG so controls Infineon Americas that it is has become merely the
  7   instrumentality of Infineon AG. whiteCryption, 2015 WL 3799585, at *2. “To
  8   meet this standard, ‘the parent must be shown to have moved beyond the
  9   establishment of general policy and direction for the subsidiary and in effect taken
10    over performance of the subsidiary’s day-to-day operations in carrying out that
11    policy.’” Id. (quoting Barrous v. BP P.L.C., 10-cv-02944-LHK, 2011 WL 459205,
12    at *4 (N.D. Cal. Oct. 3, 2011)). As explained above with reference to alter ego,
13    MACOM has not shown that Infineon AG has taken over Infineon America’s day-
14    to-day operation. See supra Section I.B. This is particularly true with respect to
15    the conduct that gives rise to MACOM’s contract claims. See id. (“The agency
16    inquiry ‘should focus on relationship between the parent and subsidiary corporation
17    surrounding the conduct that gives rise to the plaintiff’s claim.’”) (quoting Barrous,
18    2011 WL 45920, at *5).
19
20    International Rectifier was in no way acting at Infineon AG’s agent at that time.
21            MACOM’s ratification theory also lacks sufficient evidentiary support.
22    “Ratification is the voluntary election by a person to adopt in some manner as his
23    own an act which was purportedly done on his behalf by another person, the effect
24    of which, as to some or all persons, is to treat the act as if originally authorized by
25    him.”    Rakestraw v. Rodrigues, 8 Cal. 3d 67, 73 (Cal. 1972).          Like agency,
26    MACOM’s ratification theory makes no sense because
27               before Infineon AG acquired International Rectifier.          International
28    Rectifier could not                                                            , and it
                                                14
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  1   would not have been reasonable to believe that
  2                                                                                          .
  3         MACOM also wrongly alleges that
  4                                                                                               .
  5   Dkt. 65 at ¶ 35. MACOM misleadingly characterizes the parties’ 2015 and 2016
  6   discussions as involving                   Dkt. 65 at ¶¶ 114, 116, 130, 134, 139, 141,
  7   145, 147, 150. In fact, the correspondence to which MACOM refers actually
  8   involves                                                                                   .4
  9   See Williams Decl., Exs. 1-10.
10
11
12                                                                          .5 Lefort Decl. at
13    ¶¶ 7-8; Pelzer Decl. at ¶¶ 10-13.        Also contrary to MACOM’s unsupported
14    allegations,
15                         .6 Lefort Decl. at ¶¶ 7-8; Pelzer Decl. at ¶¶ 10-13. For these
16    reasons, MACOM has not presented sufficient evidence that
17                             under California law. See Rakestraw, 8 Cal. 3d at 73.
18          Second, even beyond the jurisdictional issues, MACOM fails to plead
19    sufficient facts in support of its alter ego, agency, and ratification theories to state a
20    plausible claim upon which relief can be granted. For example, MACOM’s alter
21
            4
                MACOM amended its complaint to obfuscate these facts. For example,
22    MACO
23
24
            5
                 A
25
26
            6
                Furthermore, even
27
28
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  1   ego allegations are conclusory. “Conclusory allegations of ‘alter ego’ status are
  2   insufficient to state a claim” and “a plaintiff must allege specifically both elements
  3   of alter ego liability as well as facts supporting each.” Nielson v. Union Bank of
  4   California, 290 F. Supp. 2d 1101, 1116 (C.D. Cal. 2003). With respect to the
  5   second prong of the alter ego test, MACOM alleges only that “[f]ailure to disregard
  6   Infineon AG and Infineon Americas’ purported separate identities would result in
  7   an injustice to MACOM.” Dkt. 65 at ¶ 32. MACOM does not allege any facts
  8   supporting this conclusory allegation.     Because MACOM is also bringing its
  9   contract claims against
10                         , there is no inequitable result. In deciding whether MACOM
11    has stated a claim upon which relief can be granted, the Court is not required to
12    accept as true “allegations that are merely conclusory, unwarranted deductions of
13    fact, or unreasonable inferences.” whiteCryption, 2015 WL 3799585, at *2 (citing
14    In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008)). MACOM’s
15    conclusory allegations cannot withstand a motion to dismiss. See, e.g., Dkt. 65 at
16    ¶¶ 19, 31, 32, 35.
17    III.   MACOM’s declaratory judgment of non-infringement should be
             dismissed.
18
             A.    MACOM cannot establish specific jurisdiction for its claim for
19                 declaratory judgment of non-infringement.
20           MACOM cannot establish specific jurisdiction for its claim for declaratory
21    judgment of non-infringement (the fifth claim for relief) because MACOM cannot
22    point to any contacts by Infineon AG in the forum out of which MACOM’s claim
23    arises. See Yahoo!, 433 F.3d at 1205-206. Claims arise out of forum-related
24    activities if the claims would not have arisen “but for” the defendant’s contacts with
25    the forum. Unocal, 248 F.3d at 924.
26                     Pelzer Decl. at ¶ 9.
27
28
                                               16
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  1   LeFort Decl. at ¶ 6.
  2                  cannot have any contact that constitutes a “but for” cause of
  3   MACOM’s claim for declaratory judgment of non-infringement. See Certainteed
  4   Corp. v. Knauf Insulation, SPRL, 849 F. Supp. 2d 67, 76 (D.D.C. 2012) (finding
  5   lack of personal jurisdiction over a defendant in a declaratory judgment action for
  6   non-infringement where the defendant did not own the patents at issue).
  7         B.    MACOM cannot show an actual case or controversy and fails to
                  state a claim upon which relief can be granted.
  8
                                                                         , MACOM also
  9
      cannot show an actual case or controversy involving Infineon AG over MACOM’s
10
      claim for declaratory judgment of non-infringement. See Certainteed Corp., 849
11
      F. Supp. 2d at 76. For the same reason, MACOM fails to states a claim upon which
12
      relief can be granted. In addition, MACOM’s fifth claim for relief should also be
13
      dismissed for the reasons discussed in Infineon America’s motion to dismiss (filed
14
      on the same day as this motion and incorporated by reference).
15
16    IV.   MACOM’s claim for intentional interference with contractual relations
            should be dismissed.
17          A.    MACOM cannot establish specific jurisdiction for its claim for
18                intentional interference with contractual relations.

19          MACOM improperly tries to transform a claim for breach of contract against

20    Infineon Americas into a tort claim against its indirect parent corporation Infineon

21    AG. As with the other claims, MACOM cannot establish specific jurisdiction for

22    its claim for intentional interference with contractual relations because MACOM

23    cannot point to any contacts by Infineon AG in the forum, out of which MACOM’s

24    claim arises. Specific jurisdiction based on an intentional tort “requires that the

25    defendant . . . have (1) committed an intentional act, (2) expressly aimed at the

26    forum state, [and] (3) causing harm that the defendant knows is likely to be suffered

27    in the forum state.” Washington Shoe Co. v. A-z Sporting Goods Inc., 704 F.3d

28    668, 673 (9th Cir. 2012).
                                               17
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  1         Although MACOM alleges in its FAC that
  2
  3   (Dkt. 65 at ¶ 27),
  4
  5                     Moreover, MACOM does not even allege
  6                                    Even if MACOM could establish those two things,
  7   merely making telephone calls to a forum is insufficient for specific jurisdiction.
  8   Sher v. Johnson, 911 F.2d 1357, 1362-63 (9th Cir. 1990); see also Market/Media
  9   Research, Inc. v. Union Tribune Publ’g, 951 F.2d 102, 105-06 (6th Cir. 1991).
10    Moreover,
11
12                                                                         LeFort Decl. at
13    ¶¶ 7-8; Pelzer Decl. at ¶¶ 10-13. Thus,
14                                 for purposes of specific jurisdiction.      In addition,
15    MACOM’s tortious interference claim cannot arise from
16
17                Los Angeles Airways, Inc. v. Davis, 687 F.2d 321, 328 (9th Cir. 1982)
18    (holding that when “an advisor,” such as an attorney, “is motivated in part by a
19    desire to benefit his principal, his conduct in inducing a breach of contract should
20    be privileged.”).
21          MACOM alleges that Infineon AG purposefully availed itself of this
22    jurisdiction by
23                                                    As explained above,
24
25                              See supra Section II.A. Moreover,                    do not
26    constitute a contact by Infineon AG with California and thus cannot be used to
27    establish specific jurisdiction. See LeFort Decl. at ¶¶ 7-8; Pelzer Decl. at ¶¶ 10-13;
28    Los Angeles Airways, 687 F.2d at 328 .
                                               18
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  1         Furthermore,
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  3
  4                                                   Williams Decl. at Ex. 8. MACOM
  5   alleges “[o]n information and belief” that
  6
  7                 Dkt. 65 at ¶¶ 237-240. Because MACOM fails to allege facts in
  8   support of these conclusory allegations, the Court should not treat these allegations
  9   as true. In re Gilead, 536 F.3d at 1055. Further,
10
11                                                           LeFort Decl. at ¶¶ 7-8; Pelzer
12    Decl. at ¶¶ 10-13.    Similarly,
13
14                                                                (Dkt. 65 at ¶¶ 237-240).
15    LeFort Decl. at ¶¶ 7-8; Pelzer Decl. at ¶¶ 10-13. MACOM bears the burden of
16    establishing personal jurisdiction by a preponderance of the evidence and cannot
17    carry this burden on “information and belief” where, as here, the jurisdictional facts
18    are both conclusory and disputed,
19                                       See Flynt, 734 F.2d at 1392.
20          B.     MACOM fails to state a claim upon which relief can be granted.
21          Even accepting MACOM’s allegations as true, Infineon AG’s actions with
22    respect to                                     cannot amount to intentional tortious
23    interference as a matter of law for two independent reasons. First, the financial
24    interest privilege bars MACOM’s claim against Infineon AG.               Second, the
25    manager’s privilege bars MACOM’s claim against Infineon AG.
26
27
28
                                                19
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  1                  1.    The financial interest privilege bars MACOM’s claim for
                           intentional interference with contractual relations.
  2
            The financial interest privilege bars MACOM’s claim against Infineon AG
  3
      for intentional interference with contractual relations.         The financial interest
  4
      privilege provides that “[o]ne who has a financial interest in the business of another
  5
      is privileged purposely to cause him not to enter into or continue a relation with a
  6
      third person in that business if the actor (a) does not employ improper means, and
  7
      (b) acts to protect his interest from being prejudiced by the relation.” Sade Shoe
  8
      Co. v. Oschin & Snyder, 162 Cal. App. 3d 1174, 1181 (Cal. Ct. App. 1984)
  9
      (quoting Restatement (First) of Torts § 769).7 California authorities apply the
10
      financial interest privilege to claims for intentional interference with contract. See
11
      Collins v. Vickter Manor, Inc., 47 Cal. 2d 875, 883 (Cal. Ct. App. 1957); Sade Shoe
12
      Co., 162 Cal. App. 3d at 1180-81; Culcal Styleco, Inc. v. Vornado, Inc., 26 Cal
13
      App. 3d 879, 882-83 (Cal. Ct. App. 1972); Kozlowsky v. Westminster Nat’l Bank, 6
14
      Cal. App. 3d 593, 598-99 (Cal. Ct. App. 1970). Federal district courts in the Ninth
15
      Circuit have applied the financial interest privilege to claims for tortious
16
      interference with contract. See Stonebrae, L.P. v. Toll Bros., Inc., No. C-08-221
17
      EMC, 2008 WL 2157000, *8 (N.D. Cal. May 21, 2008) (analyzing California law);
18
      Cabanas v. Gloodt Assocs., 942 F. Supp. 1295, 1306 (E.D. Cal. 1996).
19
            Infineon AG has a “financial interest” in the business of Infineon Americas.
20
      Infineon AG is an indirect parent company to Infineon Americas. LeFort Decl. at
21
      ¶¶ 2-4. MACOM alleges that the Infineon Americas is a subsidiary of Infineon
22
      AG. Dkt. 65 at ¶ 13 (“Infineon Americas is a wholly-owned subsidiary of Infineon
23
      AG.”). Infineon AG’s ownership interest in Infineon Americas is the kind of
24
      financial interest that satisfies the privilege. See Stonebrae, 2008 WL 2157000 at
25
      *6 (holding that a parent company’s ownership interest in a subsidiary satisfies the
26
27
            7
                Plaintiffs brings their claim under California state law. Dkt. 65 at ¶ 7.
28
                                                  20
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  1   privilege); Culcal Stylco, Inc., 26 Cal. App. 3d 879, 882-83 (Cal. Ct. App. 1972)
  2   (concluding that parent had a financial interest in subsidiary so as to render alleged
  3   interference with subsidiary’s license agreement privileged).
  4          Based on the allegations in MACOM’s FAC, both elements of the financial
  5   interest privilege are satisfied. First,
  6                                                                   . “Improper means”
  7   means something more than a parent directing the conduct of its subsidiary.
  8   Stonebrae, 2008 WL 2157000 at *5-8. It refers to conduct, “such as by pressuring
  9   the person influenced by an illegal boycott or abusing a fiduciary relationship.” Id.
10    (citing Restatement (Second) of Torts § 769, comment d). Although MACOM
11    alleges that
12
13
14
15                                                                        Dkt. 65 at ¶ 235.
16    Thus, if MACOM’s allegations are accepted as true,
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18
19           Based on MACOM’s FAC,
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21                                                            In its FAC, MACOM alleges
22    that
23                                                                          Dkt. 65 at ¶ 6.
24
25
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                                                 21
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  1
  2
  3
  4   Dkt. 65 at ¶ 148. Again, MACOM’s allegations are precisely the kind of purposes
  5   that meet the intent requirements of the financial interest privilege.
  6         These facts are analogous to Stonebrae, L.P. v. Toll Brothers, Inc.           In
  7   Stonebrae, the plaintiff sued two affiliated companies: it sued a subsidiary for
  8   breach of contract and the subsidiary’s parent for having induced the subsidiary to
  9   breach the contract. Stonebrae, 2008 WL 2157000 at *1. The Northern District of
10    California dismissed the claim against the parent because, based on the facts
11    appearing on the face of the complaint, the financial interest privilege applied to the
12    actions of the parent. Id. at *5-8. As in Stonebrae, MACOM fails to state a claim
13    against Infineon AG for interference with contractual relations because, based on
14    MACOM’s FAC, the financial interest privilege applies to Infineon AG.
15                 2.     The manager’s privilege bars MACOM’s claim for
                          intentional interference with contractual relations.
16
17          Affiliated corporations may consult and counsel one another regarding a

18    contract to which one of them is a party. For this reasons, courts generally have

19    held that a parent corporation cannot be held liable for tortious interference with

20    contract when the parent directs its wholly-owned subsidiary to breach a contract

21    that is no longer in the subsidiary’s economic interest to perform unless the parent

22    corporation employs wrongful means or acts with an improper purpose. See, e.g.,

23    Boulevard Assoc. v. Sovereign Hotels, Inc., 72 F.3d 1029, 1036 (2d Cir. 1995)

24    (collecting case law and noting that courts have “uniformly found that a parent

25    company does not engage in tortious conduct when it directs its wholly-owned

26    subsidiary to breach a contract that is no longer in the subsidiary’s economic

27    interest to perform,” and recognizing an exception when the plaintiff proves

28    improper motive or improper means); T.P. Leasing Corp. v. Baker Leasing Corp.,
                                           22
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  1   732 S.W.2d 480, 483 (Ark. 1987) (“[A] parent corporation’s privilege permits it to
  2   interfere with another’s contractual relations when the contract threatens a present
  3   economic interest of its wholly owned subsidiary, absent clear evidence that the
  4   parent employed wrongful means or acted with an improper purpose”); Waste
  5   Conversion Sys., Inc. v. Greenstone Indus., 33 S.W.3d 779, 784 (Tenn. 2000)
  6   (holding that a parent corporation has a privilege to cause a wholly-owned
  7   subsidiary to breach a contract and, further, that the parent loses its privilege if it
  8   acts contrary to its subsidiary’s economic interests or employs wrongful means).
  9         California courts have applied a so-called “manager’s privilege” in this
10    context. For example, in Harrison Ventures, L.L.C. v. Alta Mira Treatment Center
11    L.L.C., the plaintiff sued Alta Mira Treatment Center (AMTC) for breach of several
12    lease agreements and AMTC’s parent company, Dual Diagnosis Management, for
13    tortious interference with those lease agreements. Harrison Ventures, L.L.C. v. Alta
14    Mira Treatment Center L.L.C., No. C 10-00188 RS, 2010 WL 1929566,*1-2 (N.D.
15    Cal. May 12, 2010). The Northern District of California dismissed the claim for
16    tortious interference under Rule 12(b)(6) because the manager’s privilege applied to
17    the parent company’s actions. Id. at *7. The court held that “the privilege applies
18    anytime a business advisor counsels his principal to breach a contract that he
19    reasonably believes to be harmful to his principal’s best interest.” Id. at *6 (internal
20    quotation omitted). Moreover, “the privilege applies even when ‘the advisor is
21    motivated in part by a desire to benefit his principal.’” Id. (quoting Los Angeles
22    Airways, Inc. v. Davis, 687 F.2d 321, 328 (9th Cir. 1982)). Because the complaint
23    alleged that the parent company owned and controlled the subsidiary, the court
24    found that these allegations are “undoubtedly sufficient” to position the parent
25    company as the type of advisor to whom the manager privilege generally applies.
26    Harrison Ventures, 2010 WL 1929566 at *6. In addition, the court found that the
27    complaint also established the mental state by alleging that the decision to terminate
28
                                                23
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  1   was made for business purposes. Id. Thus, the court dismissed the intentional
  2   interference claim under Rule 12(b)(6).
  3         Similarly, MACOM’s intentional interference claim should be dismissed
  4   under Rule 12(b)(6) because MACOM’s FAC establishes all the elements of the
  5   manager’s privilege.    First,
  6
  7                                                Dkt. 65 at ¶¶ 121, 235. As in Harrison
  8   Ventures, these allegations are sufficient to make Infineon AG the type of advisor
  9   to whom the manager’s privilege applies. Second, MACOM’s FAC alleges that
10                                                                       . Dkt. 65 at ¶¶ 4,
11    6,34, 112, 148. 155-163, 175, and 239.
12          Furthermore, given that MACOM’s only specific factual allegations in
13    support of its claim for intentional interference relate to
14                                                             , MACOM’s FAC provides
15    an even stronger case of the application of the manager’s privilege. See Dkt. 65 at
16    ¶¶ 121-122; Pelzer Decl. at ¶¶ 10-13. California courts have clearly held that such
17    legal advice is protected under the manager’s (also referred to as advisor’s)
18    privilege. See Los Angeles Airways, 687 F.2d at 326 (holding that an attorney can
19    claim the protection of the privilege to induce breach of contract when he “provides
20    his advice in the course or his representation of a client” because “[a]ttorneys are
21    frequently called upon by their clients to provide advice regarding the validity of
22    contracts and the consequences of their breach.”); Schick v. Lerner, 193 Cal. App.
23    3d 1321, 1329 (Cal. Ct. App. 1987) (holding that “absent extraordinary
24    circumstances, an attorney may not be held liable for urging a client to breach a
25    contract with some third party” because “public policy dictates that attorneys must
26    remain free to counsel their clients without fear of subjecting themselves to liability
27    as a result of the proper discharge of their professional obligations,” that “[c]lients
28    as well must feel free to seek out an attorney's advice on any issue at any time,” and
                                                 24
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  1   “[a]ny rule to the contrary would constitute a serious impairment to the attorney-
  2   client relationship, and a resulting deleterious effect on the administration of
  3   justice.”).
  4          For these reasons, MACOM’s allegations establish all elements of the
  5   manager’s privilege. MACOM’s intentional interference claim should be dismissed
  6   under Rule 12(b)(6) for failure to state a claim upon which relief can be granted.
  7                   3.   MACOM’s does not allege sufficient facts in support of its
                           conclusory legal conclusions
  8
             To survive a Rule 12(b)(6) motion to dismiss, MACOM must allege “enough
  9
      facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at
10
      556. Courts “are not bound to accept as true a legal conclusion couched as a factual
11
      allegation.” Id at 555 (internal quotation and citation omitted); see also In re
12
      Gilead, 536 F.3d at 1055; Holden v. Hagopian, 978 F.2d 1115, 1121 (9th Cir.
13
      1992).        MACOM’s FAC improperly relies on conclusory legal conclusions
14
      unsupported by factual allegations. For example, MACOM alleges that
15
16
17
18
                                                 Dkt. 65 at ¶ 238. There are no specific
19
      factual allegations in support of these conclusory legal conclusions. The Court
20
      should reject MACOM’s allegations that are “merely conclusory,” based on
21
      “unwarranted deductions of fact” and “unreasonable inferences.” In re Gilead
22
      Sciences, 536 F.3d at 1055.
23
24                                       CONCLUSION
             Infineon AG respectfully requests that the Court dismiss MACOM’s FAC
25
      against Infineon AG for lack of personal jurisdiction, for lack of subject-matter
26
      jurisdiction, and for failure to state a claim upon which relief can be granted.
27
28
                                                25
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  1
           Dated: August 17, 2016       JEFFERY D. BAXTER
  2                                     BAKER BOTTS LLP
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                                        By: /s/ Jeffery D. Baxter
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  6                                            Attorney for Defendant
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